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                                                                        November 17, 2020
 Via ECF
 The Honorable Stewart D. Aaron,
     United States Magistrate Judge,
         Daniel Patrick Moynihan United States Courthouse,
             500 Pearl Street,
                  New York, New York 10007.
                     Re:     Allianz Global Invs. GmbH, et al. v. Bank of Am. Corp., et al.,
                             Case No. 18-cv-10364

 Dear Judge Aaron:
          Under Rule II(B) of Your Honor’s Individual Practices, we write on behalf of
 Defendants1 in the above-referenced action (“Defendants”) to submit this motion for a
 discovery conference and a protective order. Specifically, we seek this Court’s urgent
 intervention regarding Plaintiffs’ retention of Jason Katz, a former Barclays and BNP
 trader and a likely fact witness in this Action, as a paid “consulting” expert. In a parallel
 action in the U.K. brought by the same Plaintiffs and Plaintiffs’ counsel as in the above-
 referenced action (“Action”), Plaintiffs have applied to give Katz—in the guise of being a
 paid “consultant”—access to the confidential and highly confidential information that
 certain Defendants have produced in this Action and the U.K. action. Paying money to,
 and sharing confidential information with, a fact witness raises serious administration of
 justice issues. Over the past few days, Defendants have tried to get basic information from
 Plaintiffs about Katz’s retention. Yesterday, Plaintiffs finally revealed that that they have
 agreed to pay Katz, who is otherwise currently unemployed, $400 per hour for his
 purported consulting services. Rather than allowing the parties time to discuss these
 serious concerns, Plaintiffs are seeking to make the whole issue a fait accompli by rushing
 an application in the U.K. court to share confidential information with Katz and were
 unable to speak with Defendants until this afternoon.2 Accordingly, to avoid tainting a
 crucial fact witness, Defendants request this Court to order Plaintiffs not to pay Katz the
 unreasonable amount of $400 per hour and not to share any information to which he would
 not have had access while employed as an FX trader.3
         Background. Katz is a former FX trader for Barclays and BNP who participated
 in certain FX chat rooms that are at issue in this Action. On January 4, 2017, Katz pleaded
 guilty to a one-count indictment for violating the Sherman Act. (Plea Agreement at ¶ 1,
 U.S. v. Katz, No. 17-cr-0003, Dkt. No. 6 (S.D.N.Y. Jan. 4, 2017).) Katz testified as a fact
 witness for multiple days in U.S. v. Aiyer, No. 18-cr-333 (S.D.N.Y.)—a criminal case

 1
     The MUFG and Credit Suisse defendants do not join this letter.
 2
  On November 17, 2020, the parties met and conferred for approximately 25 minutes by telephone. Dan
 Brockett and Anthony Alden from Quinn Emanuel Urquhart & Sullivan LLP participated for Plaintiffs while
 Matthew Schwartz and Jacob Lieberman of Sullivan & Cromwell LLP and Laura Hall from Allen & Overy
 LLP participated for Defendants. The parties are at impasse on the propriety of Plaintiffs’ arrangement with
 Katz and whether they should be allowed to show Katz documents that he never sent or received.
 3
   Defendants do not seek to prevent Plaintiffs from otherwise speaking to Katz, assuming he does not divulge
 any privileged or otherwise protected information, including information he is required to keep confidential
 pursuant to the terms of his employment with BNP.
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 involving Katz that is detailed in the Third Amended Complaint. (See Dkt. No. 475,
 ¶¶ 293-96.)4 Plaintiffs and BNP listed Katz in their Initial Disclosures as a person that they
 “may use to support [their] claims or defenses.” Fed. R. Civ. P. 26(a)(1)(A)(i). Plaintiffs
 also demanded that Barclays and BNP include Katz as a document custodian. And, Katz
 is being scheduled for a fact-witness deposition in the main FX class action, In re FOREX
 Antitrust Litig., No. 13-cv-7789 (S.D.N.Y.), where his testimony also may be used in this
 Action.
        Defendants first learned of Plaintiffs’ purported retention of Katz by happenstance
 on November 6, 2020, when the claimants in the parallel U.K. action sought defendants’
 consent to show Katz confidential materials. Barclays and others promptly objected and
 sought further information about the arrangement with Katz from Plaintiffs in the U.S. and
 the U.K. Plaintiffs have stated that they intend to not only share Confidential and Highly
 Confidential information with Katz in both this Action and in the U.K., but also to
 compensate him as a “consultant” for assisting Plaintiffs in preparing their case at $400 per
 hour. (Ex. A at 2; Ex. B at 1.) Barclays asked Plaintiffs to refrain from sharing with Katz
 any Confidential or Highly Confidential information until Defendants in this Action could
 learn more about Katz’s purported retention. In response, U.K. Plaintiffs filed an
 application with the U.K. court to allow them to immediately divulge information to Katz
 and have refused to stay that application pending discussions in the U.S.
          Plaintiffs Admit Hiring Katz for His Personal Knowledge of Relevant Facts.
 There can be no dispute that Katz is a fact witness and that Plaintiffs are retaining him
 because of his personal knowledge of relevant facts. Plaintiffs have admitted this: on
 November 12, Plaintiffs explained that their “purpose” for hiring Katz as consultant was,
 in part, his “knowledge of facts relevant to the alleged conspiracy.” (Ex. C at 2.) Earlier
 that day in the U.K., Plaintiffs’ counsel asserted that they had retained him as a “consultant”
 because of “[t]he very fact that Mr. Katz was an employee of Barclays and engaged in the
 unlawful conduct that is the subject of the [U.K.] claim.” (Ex. D at 1.) Plaintiffs ignore
 that there are literally hundreds of other current and former FX traders, including among
 Plaintiffs’ own employees, who are not fact witnesses and could provide the same services.
          Plaintiffs’ Arrangement to Pay Katz $400 Per Hour Is Improper. It is well-settled
 that a lawyer can only “advance, guarantee or acquiesce in the payment of . . . reasonable
 compensation to a [fact] witness for the loss of time in attending, testifying, preparing to
 testify or otherwise assisting counsel, and reasonable related expenses,” Caldwell v.
 Cablevision Sys. Corp., 86 A.D.3d 46, 51 (N.Y. App. Div., 2d Dep’t. 2011) (emphasis
 added) (quoting N.Y. R. of Prof. Conduct 3.4(b).5 “Payment to a fact witness which bears
 no relation to the witness’s reasonable losses . . . is nothing more than a fee for testifying
 that permits strangers to the litigation to profit from it.” Id. at 52 (internal quotations and
 alterations omitted). After multiple requests, on November 16, Plaintiffs finally disclosed
 that they are going to pay Katz $400 per hour for his services. Plaintiffs’ compensation
 arrangement with Katz is excessive by any reasonable measure. At his October 5

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     Aiyer has appealed his conviction and it is possible that his appeal could result in a retrial of his case.
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   Under the Federal Anti-Gratuity statute, 18 U.S.C. § 201(d), a lawyer can only pay a fact witness for the
 “reasonable cost of travel and subsistence incurred and the reasonable value of time lost.” In re Complaint
 of PMD Enterprises Inc., 215 F. Supp. 2d 519, 530 (D.N.J. 2002).
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 sentencing, Katz explained that he was “a full-time stay-at-home dad” who spent the “last
 few years learning about growing and building a small real estate business” and was
 “taking classes to become an EMT.” (Oct. 5, 2020 Tr., U.S. v. Katz, at 7:10-20.). The
 Rules of Professional Conduct make clear that a fact witness’s reimbursement for their
 “loss of time” should be based on the monetary value of that witness’s time and requires
 “closer consideration” if the witness is unemployed. (N.Y. Bar Ass’n, Op. 668 (1994).)
 Katz cannot credibly claim that his services are worth $400 per hour to anybody other than
 Plaintiffs. Indeed, this hourly rate far exceeds what courts in this circuit have permitted in
 similar circumstances. See, e.g., Prasad v. MML Inv’rs Servs., Inc., 2004 WL 1151735, at
 *7 (S.D.N.Y. May 24, 2004) ($125 per hour and citing case that concluded rates between
 $125-200 per hour were reasonable); Klorczyk v. Sears, Roebuck & Co., 2017 WL
 3272237, at *3 (D. Conn. Aug. 1, 2017) ($120 per hour); Rajaratnam v. Motley Rice, LLC,
 449 F. Supp. 3d 45, 78 (E.D.N.Y. 2020) (less than $8,500 per year, including expenses for
 international travel).6 Nor can Plaintiffs avoid the prohibitions on improperly paying a fact
 witness by dressing him up as a purported “consultant.” See Patel v. 7-Eleven Inc., 2015
 WL 9701133, at *4-5 (C.D. Cal. Apr. 14, 2015) (holding compensation was improper
 because the witness was “actually hired . . . for his unique factual insight into the workings
 of Defendants’ [business], not for his ‘expertise’” in the relevant field).
         Plaintiffs Should Not Be Allowed to Taint Katz’s Knowledge as a Fact Witness.
 Plaintiffs clearly intend to show Katz documents that have been designated Confidential
 and Highly Confidential for which he was not an author or recipient. Indeed, they have
 filed a motion to permit this in the U.K. Allowing Katz “to review all tiers of confidential
 information in the case” runs the risk of “interfering with the recollections of a key fact
 witness” and should not be allowed. Arconic Inc. v. Novelis Inc., 2018 WL 5660180, at
 *1-*2 (W.D. Pa. Aug. 3, 2018) (“[I]t is essential to avoid the possibility of influencing the
 testimony of a witness whom both parties agree is a central fact witness in the case.”). If
 Katz reviews documents that are unrelated to his conduct, it will necessarily change his
 personal understanding of the conduct at issue in the Action. This cannot be mitigated with
 cross-examination, in part because Plaintiffs have stated that they will invoke “[their] work
 product privilege over communications with Katz concerning the subject of the
 consulting.” (Ex. A at 2.) Cf. In re Complaint of PMD Enterprises Inc., 215 F. Supp. 2d
 at 531 (holding cross-examination was insufficient where the party “engaged in ex parte
 contact and offered to pay an adverse fact witness a substantial sum to review certain
 documents”). Defendants object to and reserve all rights to challenge any such claim.7
         For the foregoing reasons, Defendants respectfully request that the Court order
 Plaintiffs not to share any confidential information with Katz that he would not have had
 access to while employed as an FX trader and not to pay him excessive compensation.


 6
   Plaintiffs will no doubt claim that Katz’s experience as a trader justifies paying him so much, but this
 ignores that Katz was banned for life from working as a trader by the Federal Reserve in 2017. See
 https://www.federalreserve.gov/newsevents/pressreleases/files/enf20170104a1.pdf.
 7
   Moreover, under the Amended Order of Confidentiality, a fact witness—but not a consulting “expert”—
 can only see “Highly Confidential” information to which the witness had access “in the normal course of
 business.” (Compare Dkt. No. 388 ¶ 7.2(f) with ¶ 7.2(h).) Plaintiffs should not be allowed to sidestep this
 Order by virtue of paying Katz as a consultant.
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 Respectfully Submitted,



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 8
  Allen & Overy LLP does not represent Defendants BNP Paribas Group, BNP Paribas USA, Inc., BNP
 Paribas S.A. and BNP Paribas Securities Corp. with respect to claims by Claimants affiliated with
 BlackRock, Inc.
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     United States Magistrate Judge

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 9
   Skadden, Arps, Slate, Meagher & Flom LLP does not represent JPMorgan Chase & Co., JPMorgan Chase
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 related entities listed in Appendix C of the complaint.
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 10
   Linklaters LLP does not represent Société Générale with respect to claims by BlackRock, Inc. or the
 BlackRock-related entities listed in Appendix C of the Complaint.
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 (Attachments)

 cc:     All counsel of record (via ECF)




 11
   Eversheds Sutherland (US) LLP only represents Standard Chartered Bank with respect to claims by
 AllianzGI GmbH, the Allianz Entities, PIMCO, and the PIMCO Funds, all as defined in the Complaint.
